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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

   CRYPTOPEAK SECURITY, LLC,

                          Plaintiff,                  Civil Action No. 1:17-cv-747-LPS-CJB
          v.

   TELADOC, INC.,

                          Defendant.



               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

          Plaintiff CryptoPeak Security, LLC hereby files this Notice of Voluntary

   Dismissal With Prejudice of Defendant Teladoc, Inc. pursuant to Federal Rule of Civil

   Procedure 41(a)(1). According to Rule 41(a)(1), an action may be dismissed by the

   plaintiff without order of court by filing a notice of dismissal at any time before service

   by the adverse party of an answer. Defendant Teladoc, Inc. has not yet answered the

   Complaint. Accordingly, Plaintiff Cryptopeak Security, LLC voluntarily dismisses

   Defendant Teladoc, Inc. with prejudice pursuant to Rule 41(a)(1).


    Dated: September 20, 2017                    DEVLIN LAW FIRM LLC


                                                 By: /s/ Timothy Devlin
                                                 Timothy Devlin (#4241)
                                                 1306 N. Broom Street, 1st Floor
                                                 Wilmington, Delaware 19806
                                                 Telephone: (302) 449-9010
                                                 Facsimile: (302) 353-4251
                                                 tdevlin@devlinlawfirm.com

                                                 Attorneys for Plaintiff CryptoPeak Security, LLC
